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                                                                                            EXHIBIT E
                          THOML         MACCOLL as BASS, LLC, P.A.
                                       COUNSELORS AT LAW



 E DWARD S. MacCOLL •T                1 5 Monument Square, 4" Floor                BENJAMIN THOMPSON
                                                                                       (1857-1918)
 M ARSHALL J. TINKLE 't                        P.O. BOX 447
                                                                                   N ATHAN W. THOMPSON
   J OHN R. BASS, I I"                P ORTLAND, MAINE 04112-0447                       (1895-1969)
'ALSO ADMITTED IN NH                                                               B ENJAMIN THOMPSON
t ALSO ADMITTED IN MA                  T ELEPHONE (207) 774-7600                        (1921-2002)
   "OF COUNSEL
                                        F ACSIMILE (207) 772-1039
                                            W W W. T H O M P O R T.C O M




                                                  August 6,2021

  VIA HAND DELIVERY
  Caitlin Kellner, Manager of Cumberland County Court Operations
  Cumberland County Superior Court
  205 Newbury Street
  Portland, ME 04101

  Re:      Tonia L. Mason v. Recover Together,Inc.

  Dear Caitlin:                              CV              t-3ca,
         Enclosed for filing is a Complaint, Acceptance of Service, Civil Summary Sheet, and
  check in the amount of $175.00 for filing fee.

           Thank you for your assistance.

                                                                 Sincerely,



                                                                Marshall J. Tinkle, MBN 2833

  MJT/jb
  Enclosures
  cc:    Michael G. Messerschmidt
         Tonia Mason




                                                                                             p r.:71
                                                                                                  g7. 5r)i
                                                                                                  u        Hr.
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                                                                                EXHIBIT E



STATE OF MAINE                                              SUPERIOR COURT
CUMBERLAND,ss.                                              CIVIL ACTION
                                                                               ,
                                                            DOCKET NO. CV-21-509
                                                           )
 TONIA L. MASON,                                           )
                                                           )
        Plaintiff                                          )
                                                           )
 v.                                                        ) ACCEPTANCE OF SERVICE
                                                           )
 RECOVER TOGTHER,INC.,                                     )
                                                           )
        Defendant.                                         )
                                                           )
                                                           )

        On the b     day August, 2021, I accepted service of the Summons and Complaint on

 behalf of Defendant, Recover Together, Inc.

        I further represent that by accepting service of the aforesaid documents, Defendant
                                                                                          to Rule
 hereby accepts service as if the same were served upon Recover Together, Inc. pursuant

 4 of the Maine Rules of Civil Procedure, and waives any and all defenses relating to service.




                                               Michael G. Messerschmidt, sq.
                                               PretiFlaherty
                                               One City Center
                                               P.O. Box 9546
                                               Portland, Maine 04112-9546




                                                                                   AVG '91 f#
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                                                                                   EXHIBIT E


STATE OF MAINE                                          SUPERIOR COURT
CUMBERLAND,ss.                                          CIVIL ACTION
                                                        DOCKET NO. CV-21-3(g
TONIA L. MASON,County of Oxford and State of           )
Maine,                                                 )
                                                       )
       Plaintiff                                       )
                                                       )
v.                                                     )       C OMPLAINT
                                                       )
RECOVER TOGTHER,INC., a Delaware           corporation )
with a place of business in Portland, County of        )
Cumberland and State of Maine,                         )
                                                       )
       Defendant.                                      )


       NOW COMES Plaintiff, Tonia L. Mason, by and through her counsel, and for her

Complaint against Defendant, Recover Together,Inc., states as follows:

       1.     Plaintiff is a resident of Bethel, County of Oxford and State of Maine.

       2.     Defendant is a corporation organised and existing under the laws of Delaware and

having a place of business in Portland, County of Cumberland and State of Maine.

       3.      Plaintiff is female.

       4.      Defendant hired Plaintiff in or about March 2020,originally as a head counselor

in its Rumford, Maine office.

       5.      Defendant required Plaintiffto go to its Augusta office for an extensive period of

training

       6.      Beginning in March 2020,Plaintiff was repeatedly sexually harassed by her

trainer/supervisor.

       7.      Among other things, the trainer/supervisor came to a group meeting visibly

intoxicated and told Plaintiff three times in front of other group members that he loved her.


      A True Copy
      ATTEST:
                      Clerk of Courts            1
                                                                                    RETD c
                                                                                    AUG 621         1.33
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                                                                                      EXHIBIT E


       8.      On another occasion, he appeared remotely for a meeting in front of an unmade

bed. When questioned about the bed, he smirked and stated,"I am inviting you in."

       9.      The supervisor's harassing behavior made Plaintiff so uncomfortable and made

her work environment so unpleasant as to constitute a hostile work environment.

       10.     Plaintiff,following proper procedure, repeatedly contacted various management

officials of Defendant to report the sexual harassment.

       1 1.    Defendant failed to take any action to address the sexual harassment.

       12.     As a direct and proximate result, Plaintiff was compelled to resign from her

employment with Defendant.

        13.    In subjecting Plaintiff to adverse employment actions, including but not limited to

an ongoing hostile work environment and constructive discharge, Defendant discriminated

against Plaintiff on the basis of her sex.

        14.    Defendant engaged in discriminatory practices with malice or with reckless

indifference to the rights of Plaintiff to be free from unlawful discrimination and harassment in

employment, in violation of the Maine Human Rights Act,5 M.R.S. § 4551 et seq.

        15.     As a direct and proximate result in Defendant's unlawful discrimination and

harassment against Plaintiff, she has suffered, and will continue to suffer, lost wages, lost

benefits, lost earning capacity, loss of enjoyment of life, injury to reputation, injury to career,

humiliation, emotional distress, and other pecuniary and non-pecuniary losses.

        16.     Plaintiff filed a charge of discrimination against Defendant with the Maine

Human Rights Commission within three hundred days of the unlawful employment practices

 alleged herein.




                                                   2
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                                                                                   EXHIBIT E


       17.      The Maine Human Rights Commission has authorized Plaintiff to proceed to

Court and has issued a right-to-sue letter dated July 29,2021, a copy of which is attached hereto

as Exhibit A.

       WHEREFORE,Plaintiff, Tonia L. Mason, respectfully requests that this honorable Court

enter judgment in her favor against Defendant, Recover Together, Inc., declaring the conduct

engaged in by Defendant and its agents to be a violation of Plaintiff's rights; awarding her

equitable relieffor back pay,front pay, benefits, and prejudgment interest; awarding

compensatory and punitive damages, together with interest, costs, expert witness fees and

attorney's fees; and granting such other and further relief as this honorable Court deems just and

proper.

       DATED at Portland, Maine this 5th day of August, 2021.




                                              Marshall J. Tinkle(MBN 2833)
                                              Counsel for Plaintiff
                                              Tonia L. Mason

 THOMPSON,MACCOLL & BASS,LLC,P.A.
                     h Floor
 15 Monument Square,4t
PO Box 447
Portland ME 04112-0447
(207)774-7600




                                                 3
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                                                                                                EXHIBIT E

                            Maine Human Rights Commission
                            # 51 State House Station, Augusta, ME 04333-0051

                              Physical location: 19 Union Street, Augusta, ME 04330
                         Phone (207)624-6290    Fax (207)624-8729     TTY: Maine Relay 711
                                               zuww.maine.gcro/mhrc
Amy M.Sneirson                                                                               Barbara Archer Hirsch
EXECUTIVE DIRECTOR                                                                              COMMISSION COUNSEL


                                                 July 29, 2021

Tonia L. Mason
2067 Intervale Road
Bethel, ME 04217

       RE:    NOTICE OF RIGHT TO SUE, Issued upon Complainant's Request
              CHARGE NO: E21-0034

To The Person Aggrieved:

More than 180 days have expired since the filing of this charge. This is your NOTICE OF RIGHT TO SUE issued
pursuant to 5 M.R.S. §4612, sub-§6 and §4622,sub-§1, ¶C. It is issued at your request. If you intend to sue
the Respondent(s) named in your charge, you must do so within two (2) years of the act of unlawful
discrimination complained of in your charge or within 90 days of the issuance of this letter, whichever is
later.

With the issuance of this NOTICE OF RIGHT TO SUE,the Commission is terminating its process with respect
to this charge.

An information copy of this NOTICE OF RIGHT TO SUE has been sent to the Respondent(s)shown below.

                                                      On Behalf of the Commission,

                                                              IAA

                                                      Amy M.Sneirson
                                                      Executive Director

cc:    GROUPS RECOVER TOGETHER
       Michael G. Messerschmidt, Esq.
       Marshall Tinkle, Esq.




                                                                                                    ME RIGHT TO SUE REV 06/42016
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CONTAINS NONPUBLIC DIGITAL INR"MATION                                                                     EXHIBIT E
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This summary sheet and the information it contains do not replace or supplement the filing and service of pleadings or other papers
as required by the Maine Rules or by law. This form is required for the Clerk of Court to initiate or update the civil docket. The
information on this summary sheet is subject to the requirements of M. R. Civ. P. 11.     CV- g - 30a-
I.      COUNTY OF FILING OR DISTRICT COURT JURISDICTION ("X" the appropriate box and enter the County or location)
        gj Superior Court County: Cumberland
                                                                            Initial Complaint: A complaint filed as an original
        ❑ District Court Location (city/town):
                                                                            proceeding. A filing fee is required.
                                                                            Third-Party Complaint: An original defendant's
II.     NATURE OF THE FILING
                                                                            action against a third party that was not part of
        M Initial Complaint
                                                                            the original proceeding. A filing fee is required.
        ❑ Third-Party Complaint
                                                                            Cross-Claim: An original defendant's claim
        O Cross-Claim or Counterclaim
                                                                            against another original defendant. No
        El   Reinstated or Reopened case: Docket Number:
                                                                            additional fee is required.
                                                                            Counterclaim:   An original defendant's claim
        Iffiling a second or subsequent Money Judgment Disclosure, give the
                                                                            against  an opposing  party. No additional fee is
        docket number of thefirst disclosure.)
                                                                            required.
                                                                            Reinstated or Reopened Case: Money Judgment
             REAL ESTATE OR TITLE TO REAL ESTATE IS INVOLVED
                                                                            Disclosures or post-judgment motions.

IV.     MOST DEFINITIVE MATURE OF ACTION
       ("X" in ONE box. If the casefits more than one nature of action, select the one that best describes the cause of action.)

       GENERAL CIVIL                             Statutory Actions                          REAL ESTATE
       Constitutional/Civil Rights                n Freedom of Access                       Foreclosures
          Constitutional/Civil Rights            ❑ Other Statutory Action                   D Foreclosure(ADR exempt)
       Contract                                  0 Unfair Trade Practice                     Ej Foreclosure (Diversion eligible)
       ❑ Contract                                Miscellaneous Civil                        0Foreclosure (Other)
       Declaratory/Equitable Relief              ❑ Administrative Warrant                   Title Actions
        Fi Declaratory Judgment                  I Appointment of Receiver
                                                 D                                          ❑ Boundary
       n   General Injunctive Relief             D Arbitration Awards                        n  Easement
       1 Other Equitable Relief
       1                                         D Common Law Habeas Corpus                  n  Eminent Domain
       Non-Personal Injury Torts                 D Debt Collection                          ❑ Quiet Title
       0Auto Negligence                               nBrought by a debt collector as       Miscellaneous Real Estate
       Ei  Libel/Defamation                         defined by 32 M.R.S. § 11002            ❑ Abandoned Road
       0Other Negligence                         D Drug Forfeiture                          D Adverse Possession
       0Other Non-Personal Injury Tort           ❑ Foreign Deposition                       ❑ Equitable Remedy
       Personal Injury Torts                     I Foreign Judgments
                                                 D                                          ❑ Mechanics Lien
           Assault/Battery                       D HIV Testing                              ri Nuisance
       0Auto Negligence                          D Land Use Enforcement(80K)                D Other Real Estate
       0Domestic Tort                            D Minor Settlements                        ❑ Partition
        ❑ Medical Malpractice                    D Other Civil                               ❑ Trespass
       0Other Negligence                         D Other Forfeiture/Property Libel
       ❑ Other Personal Injury Tort              0Pre-Action Discovery
       D Product Liability                       D Prisoners Transfers
        I IProperty Negligence                   0Shareholders' Derivative Action

       APPEALS(ADR EXEMPT)                        CHILD PROTECTIVE CUSTODY                   SPECIAL ACTIONS
       0Administrative Agency (80C)               ❑ Non-DHHS Protective Custody              ❑ Money Judgment Disclosure
       D Governmental Body (80B)
       D Other Appeal


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 accommodation contact the Court Access Coordinator, accessi bi lity@courts.mai ne.gov,or a court clerk.
 Language Services: For language assistance and interpreters, contact a court clerk or i nterpreters@courts.m ai ne.gov.


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                                                                                                           Dcrru5n, 0-E
 Civil Summary Sheet                                                                                                -
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                                                                                                               EXHIBIT E
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V.      M.R. Civ. P. 16B ALTERNATIVE DISPUTE RESOLUTION (ADR)
        Li I certify that pursuant to M.R. Civ. P. 16B(b), this case is exempt from a required ADR process because
       ("X"one box below):
           111 It falls within an exemption listed above (it is an appeal or an action for non-payment of a note in a secured
           transaction).
           0 The plaintiff or defendant is incarcerated in a local, state, or federal facility.
           O The parties have participated in a statutory pre-litigation screening panel process with (name of panel chair)
                                                     that concluded on (date of panelfinding - mm/dd/yyyy)
           O The parties have participated in a formal ADR process with (name of neutral)
           on (date — mm/dd/yyyy)
           0 The plaintiffs likely damages will not exceed $30,000, and the plaintiff requests an exemption.
           0 The action does not include ADR pursuant to M.R. Civ. P. 16(a)(1).
           O There is other good cause for an exemption and the plaintiff has filed a motion for exemption.

VI.      PARTY AND ATTORNEY CONTACT INFORMATION
        If you need additional space, list additional parties on an attachment and note "see attachment" in the appropriate section.

         Please note: If a party is a government agency, use the full agency name or the standard abbreviation. If the party
         is an official within a government agency, identify the agency first and then the official, giving both name and title.


       (a)PLAINTIFF(S)
       ("X" the box below to indicate the party type associated with the filing)
           Plaintiff(s)
       O Third-Party Plaintiff(s)
       0 Counterclaim Plaintiff(s)
        O Cross-Claim Plaintiff(s)
        Is the plaintiff a prisoner in a local, state, or federal facility?0 Yes 12 No
         Name (first, middle initial, last): Tonia L. Mason
        M ailing address (include county): 456 Virgin Street
                                             Rumford, ME 04276
                              Telephone:
                                    Email: masontools@yahoo.com

         Name (first, middle initial, last):
        Mailing address (include county):

                               Telephone:
                                   Email:

       (b)ATTORNEY(S)FOR PLAINTIFF(S)
        If there are multiple attorneys, indicate the lead attorney. If all counsel do not represent ALL plaintiffs, specify which
       plaintiff(s) the listed attorney(s) represents.
                  Name and bar number: Marshall J. Tinkle, Bar No. 2833
                             Firm name: Thompson, MacColl & Bass, LLC, P.A.
                       M ailing Address: 15 Monument Sq., 4th Floor, P.O. Box 447
                                         Portland, ME 04112-0447
                            Telephone: 207-774-7600
                                  Email: mtinkle@thomport.com


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Civil Summary Sheet
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                                                     MARE DUENCgAL              Nal

                    Name and bar number:
                              Firm name:
                         Mailing Address:

                                Telephone:
                                     Email:

        (c) DEFENDANT(S)
        ("X" the box below to indicate the party type associated with the filing)
         X Defendant(s)
         ❑ Third-Party Defendant(s)
         ❑ Counterclaim Defendant(s)
         ❑   Cross-Claim Defendant(s)
         Is the defendant a prisoner in a local, state, or federal facility? ❑ Yes    No
          Name (first, middle initial, last): Recover Together, Inc.
         M ailing address (include county): 222 Saint John Street
                                              Portland, ME 04102
                               Telephone:
                                     Email:

          Name (first, middle initial, last):
         Mailing address (include county):

                                Telephone:
                                    Email:

        (d) ATTORNEY(S) FOR DEFENDANT(S)
         If there are multiple attorneys, indicate the lead attorney. If all counsel do not represent ALL defendants, specify which
         defendant(s) the listed attorney(s) represents.

                   Name and bar number: Michael G. Messerschmidt
                             Firm name: PretiFlaherty
                        Mailing Address: One City Center, P.O. Box 9546
                                         Portland, ME 04112-9546
                             Telephone:
                                  Email: mmesserschmidt@preti.com

                   Name and bar number:
                             Firm name:
                        Mailing Address:

                               Telephone:
                                    Email:




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Civil Summary Sheet
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CONTAINS NONPUBLIC DIGITAL INFPRMATION                                                                         EXHIBIT E
                                                     MAINE JUDICIAL BRANCH

        (e)PARTIES IN INTEREST
          Name (first, middle initial, last):
         Mailing address (include county):

                                Telephone:
                                    Email:

          Name (first, middle initial, last):
         M ailing address (include county):

                                Telephone:
                                    Email:

        (f) ATTORNEY(S)
         If there are multiple attorneys, indicate the lead attorney. If all counsel do not represent ALL parties in interest, specify
         which parties in interest the listed attorneys)represents.
                   Name and bar number:
                             Firm name:
                        Mailing Address:

                                Telephone:
                                     Email:

                   Name and bar number:
                             Firm name:
                        Mailing Address:

                               Telephone:
                                    Email:

VII.    RELATED CASE(5)IF ANY
        Case name:
        Docket Number:
        Assigned Judge/Justice:



Date(mm/dd/yyyy): 08/05/2021
                                                                               Signature o      aintiff or Lead Attorney of Record

                                                                           Marshall J. Tinkle
                                                                                    Printed Name of Plaintiff or Attorney




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Civil Summary Sheet
